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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CASA EXPRESS CORP,

                        Plaintiff,

      v.                                    Case Nos. 18-cv-11940 (AT)
                                                      19-cv-3123 (AT)
THE BOLIVARIAN REPUBLIC OF
VENEZUELA,

                        Defendant.


PHARO GAIA FUND LTD., et al.,

                        Plaintiffs,

v.

THE BOLIVARIAN REPUBLIC OF
VENEZUELA,

                        Defendant.



  REPLY MEMORANDUM OF THE BOLIVARIAN REPUBLIC OF VENEZUELA
IN SUPPORT OF CROSS-MOTION FOR A STAY AND SURREPLY IN OPPOSITION
   TO PLAINTIFFS’ CONSOLIDATED MOTION FOR SUMMARY JUDGMENT



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                                        INTRODUCTION

       This case is not just about a default on two of the Republic’s debt obligations, which the

Republic acknowledges and is committed to resolving in an orderly and consensual manner. The

future of Venezuela’s economic recovery and the welfare of the Venezuelan people are at stake.

Granting Plaintiffs the relief they seek on the timetable they demand will undermine Venezuela’s

ability to conclude consensual debt-restructuring negotiations with its multitude of creditors.

       Plaintiffs are part of a small but growing cadre who seek to advantage themselves by win-

ning a race to the courthouse. But the Court should not enter judgment now. Plaintiffs do not and

cannot deny that if this Court proceeds to judgment now, it will trigger an avalanche of new cases.

Moreover, Plaintiffs’ position—disclosed for the first time in their Reply Brief—is that the entry

of judgment will forever advantage them vis-à-vis all the Republic’s other debtholders. As such,

Plaintiffs may not obtain a judgment without a specific license from the Office of Foreign Assets

Control (“OFAC”).

       Independently, this Court has broad discretion to stay proceedings. Plaintiffs do not and

cannot deny that Venezuela faces an extraordinary humanitarian, political, and economic crisis,

and that this case implicates serious foreign-policy concerns. Entering judgment now threatens the

efforts of Interim President Guaidó to return Venezuela to economic prosperity and to return its

government to the Venezuelan people. And it threatens the interests of the United States, which

strongly supports the Guaidó government’s efforts to restore democracy and protect the Republic’s

assets. These are, indisputably, exceptional circumstances. The Court should exercise its discretion

to enter a stay, as Chief Judge Stark did in the District of Delaware, or, at minimum, seek the views

of the United States.




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                                          ARGUMENT

I.     The Court Should Deny Summary Judgment Absent An OFAC License

       Plaintiffs have now disclosed an important new position: they contend (for the first time on

reply) that entry of judgment will—without any further action by any court—relieve them of future

obligations set forth in their debt contracts with the Republic, namely provisions that “allow a

supermajority to bind nonconsenting creditors to the terms of restructured bonds.” Reply 5. Such

clauses, known as “collective action clauses” (CACs), were introduced into sovereign bonds in the

early 2000’s with the encouragement of the International Monetary Fund and other stewards of the

global financial system.1 The United States actively urged their inclusion to “create a more orderly

and predictable workout process” should the need arise, because CACs “would prevent a small

minority from delaying or otherwise disrupting an agreement [on restructuring] and would thereby

add predictability to the restructuring process.”2 Since then, “the inclusion of [CACs] in sovereign

bonds, which became popular in the 2000s, has helped expedite the restructuring process.”3

       Plaintiffs assert that entry of judgment will relieve them of any obligations they (or their

successors-in-interest) might have in the future under applicable CACs. Under this theory, entry

of judgment will amend the contract without the consent of the requisite percentage of bondhold-

ers, effectively rewriting the contract. Such a result would undermine decades of U.S. policy on

sovereign debt and severely exacerbate the rush to the courthouse. The Republic strongly disagrees




1
 See Int’l Monetary Fund, Collective Action Clauses in Sovereign Bond Contracts—Encouraging
Greater Use (June 6, 2002) (https://www.imf.org/external/np/psi/2002/eng/060602a.pdf).
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with Plaintiffs’ legal theory, which disregards the fact that a CAC is a form of intercreditor under-

taking—in which all bondholders agree to be bound to each other in certain circumstances—that

cannot be nullified without the consent of the other bondholders who are the beneficiaries of that

undertaking. Plaintiffs’ theory also misapprehends the limited nature of the “merger and bar” doc-

trine by failing to recognize that a judgment will not supersede the CAC provisions.4

       Plaintiffs, however, will undoubtedly continue to take that position in the future, perhaps

on appeal or in other courts. And because Plaintiffs insist that the judgment will relieve them of

existing contractual obligations, this Court cannot docket a judgment until they obtain an OFAC

license. An unlicensed alteration of property rights in Venezuela bonds would constitute a violation

of the U.S. economic sanctions. Indeed, in another case, Judge Stanton recently denied summary

judgment in view of the existing Venezuela sanctions regime. See Opinion & Order, Dresser-Rand

Co. v. Petroleos de Venezuela, S.A., No. 19 Civ. 2689 (S.D.N.Y. Feb. 11, 2020), ECF No. 59. This

Court should do so as well—at least until Plaintiffs produce a license from OFAC.

       1. To begin, the President has blocked the bonds at issue in this case. Executive Order

13808 prohibits “all transactions related to” “bonds issued by the Government of Venezuela.”



4
  Upon entry of judgment on a claim of breach of a contract to repay money, the “debt created by
contract merges with a judgment entered on that contract, so that the contract debt is extinguished
and only the judgment debt survives.” Westinghouse Credit Corp. v. D’Urso, 371 F.3d 96, 102 (2d
Cir. 2004). But the “‘merger’ of the contract debt with the judgment debt does not extinguish the
underlying contract itself.” NML Capital, Ltd. v. Republic of Argentina, No. 11 Civ. 4908 (TPG),
2015 WL 3542535, at *4 (S.D.N.Y. June 5, 2015) (citing Exp.-Imp. Bank of the Republic of China
v. Grenada, No. 13 Civ. 1450 (HB), 2013 WL 4414875, at *3 (S.D.N.Y. Aug. 19, 2013)). “Rather
than extinguish the contract, merger merely extinguishes the claim that was adjudicated from that
contract, and replaces that claim with the final judgment.” Id. (emphasis in original). In NML and
Export-Import Bank, Judges Griesa and Baer each held that entry of judgment on a claim for non-
payment did not preclude later claims for breach of different provisions of the same contract that
gave rise to the initial claim for non-payment. See id.; see also Mitu Gulati, Do Judgements Trump
CACs?, Credit Slips (Feb. 10, 2020, 12:58 PM) (https://www.creditslips.org/creditslips/2020/02/
do-judgements-trump-cacs.html).


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Exec. Order No. 13808, § 1(a)(iii), 82 Fed. Reg. 41,155 (Aug. 24, 2017). And Executive Order

13884 provides that all “property and interests in property” of the Republic in the United States

“are blocked and may not be transferred, paid, exported, withdrawn, or otherwise dealt in.” Exec.

Order No. 13884, § 1(a), 84 Fed. Reg. 38,843 (Aug. 5, 2019). Because the bonds at issue in this

case are property in which Venezuela has an “interest” (such as enforcement of its terms), they are

“blocked” pursuant to Executive Order 13884. Further, Executive Order 13808 provides that the

bonds “may not be transferred” without permission. See Dames & Moore v. Regan, 453 U.S. 654,

673 (1981).

       The President issued these Executive Orders under the International Emergency Economic

Powers Act, which authorizes broad presidential powers that include, in specified circumstances,

the ability to “prevent or prohibit any … use, transfer … or dealing in, or exercising any right,

power, or privilege with respect to, or transactions involving, any property in which any foreign

country or a national thereof has any interest.” 50 U.S.C. § 1702(a)(1)(B); see also Venezuela

Defense of Human Rights and Civil Society Act of 2014, Pub. L. 113-278, 128 Stat. 3011 (set out

as a note to 50 U.S.C. § 1701). Economic sanctions authorized by these statutes use “the blocking

of assets and trade restrictions to accomplish foreign policy and national security goals.” U.S.

Dep’t of Treasury, OFAC FAQs: General Questions, FAQ No. 1 (Feb. 6, 2019) (https://www.treas-

ury.gov/resource-center/faqs/Sanctions/Pages/faq_general.aspx#basic).      When      property    is

“blocked,” “the exercise of powers and privileges normally associated with ownership is prohib-

ited without authorization from OFAC.” Id. FAQ No. 9.

       2. A judgment altering the terms of the bonds by superseding the CACs would amount to

a transfer of blocked property within the meaning of these Executive Orders. Applicable regula-

tions define “property interests” and “transfer” as used in the Executive Orders with extraordinary

breadth. “The terms property and property interest” include debts, obligations, notes, bonds, “any

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other financial instruments,” and “contracts of any nature whatsoever … or interest or interests

therein, present, future, or contingent.” Id. § 591.309. And a “transfer” is “any actual or purported

act or transaction … the purpose, intent, or effect of which is to create, surrender, release, convey,

transfer, or alter, directly or indirectly, any right, remedy, power, privilege, or interest with respect

to any property.” Id. § 591.310. Without limiting this general definition, a “transfer” includes,

expressly, “the issuance, docketing, or filing of … any judgment” that alters rights with respect

to property. Id. (emphasis added). This is what Plaintiffs are asking the Court to do here. Any

unauthorized transfer of “blocked” property “is null and void and shall not be the basis for the

assertion or recognition of any interest in or right, remedy, power, or privilege.” Id. § 591.202(a).

        OFAC issued a “general license” (GL 3G (Oct. 1, 2019) permitting certain transactions in

the bonds at issue.5 But in November 2019, it issued a superseding regulation, which provides:

                Notwithstanding the existence of any general license issued under this part,
                or issued under any Executive order issued pursuant to the national emer-
                gency declared in E.O. 13692, the entry into a settlement agreement or the
                enforcement of any lien, judgment, arbitral award, decree, or other order
                through execution, garnishment, or other judicial process purporting to
                transfer or otherwise alter or affect property or interests in property
                blocked pursuant to § 591.201, as referenced in §591.506(c), is prohibited
                unless authorized pursuant to a specific license issued by OFAC pursuant
                to this part.

Id. § 591.407. In short, Plaintiffs contend that they are on the cusp of obtaining not merely a money

judgment, but a self-executing judgment that would alter or affect interests in blocked property

(i.e., by discharging Plaintiffs from any future contractual obligations under the bonds). Section




5
  OFAC issues two types of licenses: a “general license authorizes a particular type of transaction
for a class of persons without the need to apply for a license,” and a “specific license is a written
document issued by OFAC to a particular person or entity, authorizing a particular transaction in
response to a written license application.” U.S. Dep’t of Treasury, OFAC FAQs: General Ques-
tions, FAQ No. 74 (Feb. 6, 2019) (https://www.treasury.gov/resource-center/faqs/Sanctions/
Pages/faq_general.aspx#basic).


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407 prohibits such a judicial alteration of interests in blocked property unless “authorized pursuant

to a specific license issued by OFAC.” Id.

       3. Plaintiffs apparently have not sought such a license. They instead point out that sanctions

do not ordinarily prohibit the entry of judgment. Reply 8 (citing U.S. Dep’t of Treasury, OFAC

FAQ No. 808 (Feb. 18, 2020) (https://www.treasury.gov/resource-center/faqs/sanctions/pages/

faq_other.aspx#venezuela)). But in some cases “the issuance, docketing, or filing of … any judg-

ment” is a prohibited transfer. 31 C.F.R. § 591.310. And OFAC published guidance in December

2019 highlighting the need for a specific license to create or perfect “any legal or equitable inter-

ests” in blocked Venezuelan property through “judicial process”:

               A specific license from OFAC is not ordinarily required to initiate or con-
               tinue U.S. legal proceedings against a person designated or blocked pursu-
               ant to OFAC’s Venezuela sanctions program, or for a U.S. court, or its per-
               sonnel, to hear such a case. However, a specific license from OFAC is re-
               quired for the entry into a settlement agreement or the enforcement of any
               lien, judgment, or other order through execution, garnishment, or other ju-
               dicial process purporting to transfer or otherwise alter or affect property or
               interests in property blocked pursuant to the Venezuela Sanctions Regula-
               tions (31 C.F.R. Part 591). This includes the purported creation or perfection
               of any legal or equitable interests (including contingent or inchoate inter-
               ests) in blocked property.

       Because plaintiffs argue that the mere entry of judgment extinguishes certain contractual

rights and obligations under the Bonds (Reply 6), this particular judgment would amount to a “ju-

dicial process purporting to … alter or affect property or interests in blocked property” and the

purported “creation or perfection” of “legal or equitable interests,” requiring a specific license from

OFAC under FAQ 808. As Judge Stanton did in Dresser-Rand, supra, the Court should refrain

from entering summary judgment at least until Plaintiffs produce such a license.




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II.    The Court Should Stay These Cases

       Plaintiffs characterize the Republic’s requested relief as an “indefinite” stay (Reply 3-5). It

is true that the Republic seeks a stay until the restoration of democratic rule in Venezuela and a

reasonable opportunity for the negotiation of a consensual debt restructuring. In fact, many stays

are of a to-be-determined duration. Such stays are automatic in bankruptcy cases, see 11 U.S.C. §

362, and there are other circumstances in which the courts insist that parties make every reasonable

effort to reach accommodation even if such efforts are of an indeterminate duration, see, e.g., In

re Northwestern Airlines Corp., 483 F.3d 160, 168 (2d Cir. 2007) (authorizing court to enjoin

union’s self-help against bankrupt airline until “every reasonable effort” at reaching an agreement

had been exhausted).

       Moreover, in matters implicating foreign policy, courts have extremely broad discretion.

In In re Assicurazioni Generali, S.P.A., the Second Circuit issued a stay that lasted more than a

year, then kept the case sub judice for an additional three years, during which it twice sought the

views of the Secretary of State. 592 F.3d 113, 117 (2d Cir. 2010). Ultimately, the court dismissed

the claims in deference to the foreign policy of the United States as expressed by the Executive.

Id. at 119–20; accord Whiteman v. Dorotheum GmbH, 431 F.3d 57, 59–60 (2d Cir. 2005) (dis-

missing under “‘case-specific deference’ to the expressed foreign policy interests of the United

States”). In other cases concerning sovereign debt, courts have entered stays of specified duration

and extended them. For example, in Pravin Banker Assocs., Ltd. v. Banco Popular Del Peru, on

which Plaintiffs rely, the district court first granted a six-month stay to enable Peru to negotiate its

sovereign debt and liquidate certain assets of its central bank, 165 B.R. 379, 389 (S.D.N.Y. 1994),

and, after the stay expired without a resolution of those negotiations, the court extended the stay

another two months, 1995 WL 102840 (S.D.N.Y. Mar. 8, 1995).




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       Accordingly, this Court has ample discretion to stay proceedings here until the restoration

of democratic rule in Venezuela and the parties attempt to negotiate a consensual debt restructur-

ing. Alternatively, the Court has authority to enter a stay for a finite duration. If the Court is of a

view that a finite duration is appropriate, we respectfully suggest 120 days, with a duty to provide

periodic reports about the circumstances bearing on the continuation of the stay.

       A.      This Court Should Exercise Its Inherent Power to Stay These Cases.

       This court has broad inherent power to craft a reasonable stay tailored to prevent the irrep-

arable harm that entering judgments in these cases will cause the Republic, and each stay factor

strongly counsels in favor of a stay.

       1. Plaintiffs’ Private Interests. Plaintiffs will not be prejudiced by temporarily maintain-

ing the status quo to enhance the Republic’s ability to enter into consensual debt-restructuring

negotiations. To the contrary, a stay will better enable the Republic to facilitate the resolution of

Plaintiffs’ debts—together with the debts of the Republic’s many other creditors—on consensual

and mutually beneficial terms. Plaintiffs argue that a stay in favor of sovereign restructuring pro-

ceedings “would transform any supposedly ‘voluntary’ debt restructuring into ‘the equivalent of a

judicially-enforced bankruptcy proceeding.” Reply 5. That is wrong. Plaintiffs will be free to ex-

ercise their contractual rights in connection with that voluntary process and seek judicial relief

should the process produce a result they deem unacceptable.

       Instead of awaiting the negotiation process like the vast majority of creditors, Plaintiffs

wish to jump to the head of the line, seeking relief from the future effect of CACs. Reply 5–6. To

the extent that Plaintiffs own bonds with CACs, they accepted those terms when they purchased

the bonds. They cannot complain now about the terms of bonds they voluntarily acquired.

       Nor will Plaintiffs be prejudiced in relation to the other cases. Plaintiffs themselves recog-

nize that all attempts to enforce judgments against the Republic have been stayed. E.g., Crystallex


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Int’l Corp. v. PDV Holding Inc., No. 15 Civ. 1082, 2019 WL 6785504 (D. Del. Dec. 12, 2019).

The stay in Delaware will last at least until the conclusion of Supreme Court proceedings—months

from now, if not longer. Id. at *4–5. And the court in those cases itself recognized that circum-

stances may warrant further extending the stay. See id. If the stay in Delaware is lifted, moreover,

there will still be further proceedings on the Republic’s motion to quash the court’s writ of attach-

ment. See id. at *5. And even if those motions are denied, there will be further briefing concerning

the process of conducting a sale of PDVSA’s assets—if and only if OFAC grants a license for such

a sale. Maintaining the status quo while those proceedings are on hold will not prejudice Plaintiffs

in any way. If circumstances change, the Court can modify its stay as necessary.

       2. Defendant’s Interests. In contrast to Plaintiffs’ purported interests, the interests of the

Republic in a stay are particularly strong: with billions of dollars at issue, a denial of the motion

for a stay would be an unmistakable signal to the market encouraging “a chaotic and uncontrolled

scramble for [the Republic’s] assets in a variety of uncoordinated proceedings in different courts,”

In re Colonial Realty Co., 980 F.2d 125, 133 (2d Cir. 1992) (quotation source omitted). Allowing

this case to proceed would thus undermine the Republic’s sovereign efforts to address the unprec-

edented humanitarian crisis within Venezuela and, consistent with U.S. policy, to preserve the

Republic’s assets for the benefit of the Venezuelan people. That was a major reason why Chief

Judge Stark stayed proceedings in Crystallex. He did not want “to create a ‘run on the bank,’ that

is, an influx of creditors to the Court, with negative consequences for the Republic, for U.S. policy

(which favors an orderly transition of power in the Republic and a coordinated restructuring of its

debts), and, potentially, th[e] Court.” Crystallex, 2019 WL 6785504, at *3.

       Plaintiffs do not meaningfully contest that, if the Court enters judgment now, many more

cases are sure to follow. They argue only that there will be no real harm unless the Court permits

enforcement under 28 U.S.C. § 1610(c). Reply 9–10. But that argument makes no sense if, as

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Plaintiffs assert, entry of judgment itself will alter their contractual rights. Moreover, 28 U.S.C. §

1610(c) only forestalls enforcement in the United States; Plaintiffs may attempt to go after the

Republic’s assets abroad even before the ink on the Court’s order dries. That will, of course, pres-

sure other creditors to resort to legal action that will disrupt, rather than facilitate, the voluntary,

orderly restructuring that ultimately best serves all stakeholders.

       Finally, Plaintiffs express concern that the Republic’s transition to democracy may or may

not succeed. But the fact that Maduro retains de facto power is, precisely, an argument that favors

the stay: because the United States recognizes Interim President Guaidó and the National Assem-

bly, they are the rightful actors on behalf of the Republic who should be afforded a reasonable

opportunity by this Court to secure voluntary agreement among creditors for a restructuring.

       3. Judicial Resources. Continuing the litigation at this stage would be wasteful of judicial

resources. Plaintiffs do not dispute that the more quickly this Court moves forward, the more cases

it will attract. And, while Plaintiffs say that they can “begin the enforcement process” once they

have a judgment, Reply 10, they concede that they cannot do so without an OFAC license, which

they have not sought. At the very minimum, the Court should not proceed to judgment before

Plaintiffs even seek an OFAC license. The more efficient option is for the Court to stay litigation

until the Republic can enter into a consensual debt resolution plan in accordance with U.S. sanc-

tions. At that future stage, any plaintiffs who are unwilling to participate in the restructuring may

resort to judicial proceedings consistent with their contract rights.

       4. Non-Parties’ Interests. These lawsuits—and those that will follow if judgment is en-

tered now—have the potential to undermine severely the Guaidó government’s efforts to return

Venezuela to economic prosperity. Plaintiffs’ conclusory claims to the contrary—that this litiga-

tion will not affect the Venezuelan people or Venezuela’s other creditors (Reply 11)—are implau-

sible on their face. Plaintiffs admit that the very purpose of pursuing judgment now is to put them

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at an advantage vis-à-vis the Republic’s other creditors and bondholders. E.g., Reply 5–6 (asserting

that judgment would relieve Plaintiffs from their contractual rights and obligations under the

7.75% 2019 Bonds). Those few creditors who are proceeding should not be rewarded with an

advantage over a much larger number of similarly situated creditors and at the expense of the

millions of Venezuelans already enduring desperate economic conditions.

       5. The Public Interest. Finally, it is in the public interest to stay this case. As in Crystallex,

proceeding to judgment now “would undermine a foreign ally, worsen a grave humanitarian crisis,

and tread on diplomatic sensitivities.” 2019 WL 6785504, at *3 n.10. The better course—in accord

with the United States’ interest in “an orderly transition of power in the Republic and a coordinated

restructuring of its debts,” id. at *3—is a temporary stay to enable the Republic to enter into con-

sensual debt-restructuring negotiations.

       Plaintiffs assert that the United States has an interest in “the enforcement of valid con-

tracts.” Reply 11. But a stay here does not undermine that interest. The Republic is not seeking to

repudiate its obligations; it seeks only a temporary stay so that it can better resolve its debts, both

to Plaintiffs and to the Republic’s many other creditors. Moreover, whatever the United States’

general interest in contract rights, that interest is vastly outweighed by the United States’ specifi-

cally articulated interest in “support[ing] Interim President Juan Guaidó, the National Assembly,

and the Venezuelan people’s efforts to restore their democracy,” and “prevent[ing] further divert-

ing of Venezuela’s assets by Maduro and preserv[ing] these assets for the people of Venezuela.”6

Staying this litigation would further U.S. policy by discouraging efforts by aggressive claimants

to disturb the equal ranking of similarly situated creditors through litigation, collection actions,


6
  Press Release, U.S. Dep’t of Treasury, Treasury Sanctions Venezuela’s State-Owned Oil Com-
pany Petroleos de Venezuela, S.A. (Jan. 28, 2019) (https://home.treasury.gov/news/press-re-
leases/sm594).


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attachments, or other means. But if there is any doubt about the United States’ views on this case,

the Court should solicit them, as Chief Judge Stark did. Crystallex, 2019 WL 6785504, at *11.

       B.      The Court Should Stay These Cases In The Interest Of International Comity.

       Beyond the traditional stay factors already articulated, international comity also supports

the entry of a stay to enable the Republic to enter into consensual and mutually beneficial debt-

restructuring negotiations. To be sure, these grounds for a stay are uncommon. But that is because

the case is extraordinary: the Republic faces an unparalleled humanitarian and economic crisis; a

dictator who will not leave; and U.S. government sanctions to address what two Presidents from

different parties have deemed “an unusual and extraordinary threat to the national security and

foreign policy of the United States,” Exec. Order No. 13692, 80 Fed. Reg. 12,747 (Mar. 8, 2015);

see Exec. Order No. 13884, 84 Fed. Reg. 38,843 (Aug. 7, 2019) (taking “additional steps with

respect to the national emergency declared in Executive Order 13692”).

               1.      Abstention Based On International Comity Is Appropriate.

       Plaintiffs do not dispute that courts in this Circuit facing sovereign debt restructurings have

stayed proceedings to permit time for a negotiated outcome between a sovereign and its creditors.

See, e.g., Pravin Banker Assocs., Ltd. v. Banco Popular del Peru, 109 F.3d 850, 855–56 (2d Cir.

1997); Allied Bank Int’l v. Banco Credito Agricola, 757 F.2d 516, 519 (2d Cir. 1985); Pravin, 165

B.R. at 387. Instead, Plaintiffs argue that such stays cannot be entered before debt-restructuring

negotiations have begun. Reply 12–14. But the cases Plaintiffs rely on do not actually support such

a bright-line rule. Notably, the sovereigns in Pravin and Allied Bank (Peru and Costa Rica, respec-

tively) were not experiencing anything like the political, economic, and humanitarian disaster con-

fronting the Republic. This is not merely a sovereign debt crisis. It is the largest economic collapse

outside of war or state collapse, and the worst humanitarian and refugee crisis on Earth other than

Syria. The Republic has begun the process of formulating both (1) a comprehensive economic


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recovery plan, to be implemented once the political and humanitarian crisis can be abated; and (2)

a comprehensive, orderly, and consensual restructuring of its outstanding financial obligations,

supported by the international financial community, and based on published guidelines. See Rep.

Br., Ex. 1. This plan fully comports with U.S. debt restructuring policy. But this process will take

time. Under these truly exceptional circumstances, the “spirit of international comity” supports a

reasonable application of the considerations that animated the courts in Canada Southern Railway

Co. v. Gebhard, 109 U.S. 527 (1883), Pravin, and Allied Bank to ensure that the Republic can

address its humanitarian crisis and implement strong macroeconomic policies in connection with

an orderly debt restructuring plan that is comprehensive, voluntary, and supported by the relevant

international financial institutions and actors.

       Plaintiffs also argue that such stays are unwarranted when they are “inconsistent with the

law and policy of the United States.” Reply 14 (quoting Allied Bank, 757 F.2d at 522). But that is

emphatically not the case here. U.S. policy, including OFAC sanctions and explicit statements by

the Executive Branch, manifestly support a stay. See Rep. Br. 13, 18. Indeed, any debt restructuring

process will require a substantial modification of U.S. sanctions currently in place. See U.S. Dep’t

of Treasury, OFAC FAQs: General Questions, FAQ No. 547 (July 19, 2018). Thus, it is not, as

plaintiffs implicitly suggest, some sort of procrastination of the Interim Government that has

caused a delay in the debt restructuring; it is rather that the U.S. Government has effectively for-

bidden a debt restructuring until the political transition happens. And Plaintiffs are wrong (Reply

14) that the Second Circuit “rejected” the argument Venezuela makes in Allied Bank. In that case,

the United States filed a brief expressly stating that U.S. policy did not support a stay because

Costa Rica had “attempted [a] unilateral restricting of private obligations,” which the United States

considered to be “inconsistent with th[e] system of international cooperation and negotiation and

thus inconsistent with United States policy.” 757 F.2d at 519 (emphasis added). Here we have the

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opposite: repeated, consistent, and unequivocal support for the Guaidó government (see Rep. Br.

13, 18), and detailed plans for a consensual debt restructuring (Rep. Br., Ex. 1).

       Plaintiffs also argue that the Venezuela sanctions regime does not block entry of judgment,

so U.S. policy does not support a stay. That argument does not hold water. Plaintiffs seek a self-

executing judgment that is forbidden by applicable regulations without a specific license. See supra

pp. 1–6. And the Executive Branch makes its views known through various means, including

through statements by policymakers. See Rep. Br. 13, 18. If there is any doubt about the United

States’ position, the Court should invite the government’s views, as Chief Judge Stark did.

               2.      A Stay Is Justified Under The Doctrine Of Necessity.

       The necessity doctrine allows a state to temporarily defer its financial obligations while it

is “threatened by a serious danger to its existence, to its political or economic survival, [or] to the

possibility of maintaining its essential services in operation.” LG&E Energy Corp. v. Argentine

Republic, ICSID Case No. ARB/02/1, Decision on Liability, ¶ 246 (Oct. 3, 2006); see also, e.g.,

Roberto Ago (Special Rapporteur), Addendum to the Eighth Report on State Responsibility: Inter-

nationally Wrongful Act of the State, Source of International Responsibility, ¶ 2 U.N. Doc.

A/CN.4/318/Add.5-8 (1980), reprinted in [1980] 2 Y.B. Int’l L. Comm’n 13, U.N. Doc.

A/CN/4/SER.A/1980/Add.1 (Part 1) (a state may invoke the necessity doctrine in a case of “ex-

treme peril,” “a grave danger to the existence of the State itself, its political or economic survival,

[or] the continued functioning of its essential services”). The doctrine clearly applies in the case of

Venezuela, a fragile state facing an unprecedented economic collapse, a mass exodus of human

capital, and a complex humanitarian emergency.

       Plaintiffs are wrong that customary international law “do[es] not apply here because the

parties’ respective obligations are explicitly governed by … New York law, not international law.”

Reply 16. International law “is part of our law.” First Nat. City Bank v. Banco Para El Comercio


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Exterior de Cuba (“Bancec”), 462 U.S. 611, 623 (1983) (quoting The Paquete Habana, 175 U.S.

677, 700 (1900)); Stephens v. Nat’l Distillers & Chem. Corp., 69 F.3d 1226, 1234 (2d Cir. 1995)

(noting that “[i]nternational law, accepted by federal common law,” superseded a New York stat-

ute). Because “international law[] is federal law,” it “supersedes inconsistent State law.” Restate-

ment (Third) of Foreign Relations Law § 115 cmt. e (1987) (emphasis added); id. § 111 cmt. d

(“[C]ustomary international law … [is] federal law and as such [is] supreme over State law.”).

       Contrary to Plaintiffs’ assertion, the necessity doctrine is not merely a “substantive defense

to liability.” Reply 15. The doctrine is “intend[ed] to provide flexibility in the application of inter-

national obligations,” and “may justify setting aside or suspending an obligation.” Cont. Cas. Co.

v. Argentine Republic, ICSID Case No. ARB/03/9, Award, ¶ 168 (Sept. 5, 2008) (emphasis added);

see   also   State    Responsibility,   Y.B.    Int’l   L.   Comm’n       (2001)    80,   U.N.    Doc.

A/CN.4.Ser.A/2001/Add.1 (Part 2) (noting that the necessity doctrine applies in “those exceptional

cases where the only way a State can safeguard an essential interest … is, for the time being, not

to perform some other international obligation” (emphasis added)). Thus, “[w]here [a state’s] com-

pliance with an international obligation would impose such an economic burden that vital public

services would be jeopardized,” the necessity doctrine provides that “there is no violation of inter-

national law in postponing payment.” Alan O. Sykes, Economic “Necessity” in International Law,

109 Am. J. Int’l L. 296, 310 (2015) (emphasis in original).

       Plaintiffs’ insistence that the necessity doctrine does not apply to a State’s obligations “un-

der a private contract,” Reply 18, misstates the law. A state may invoke the necessity doctrine to

“preclud[e] the wrongfulness of an act not in conformity with an international obligation,” State

Responsibility, Y.B. Int’l L. Comm’n (2001) 80, U.N. Doc. A/CN.4.Ser.A/2001/Add.1, which in-

cludes “all international obligations of the State and not only those owed to other States,” id. at 87

(emphasis in original); see also id. at 35 (“The terminology of breach of an international obligation

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of the State is long established and is used to cover both treaty and non-treaty obligations.” (em-

phasis added)). That is because “any violation by a State of any obligation, of whatever origin,

gives rise to State responsibility.” Rainbow Warrior (New Zealand v France), 20 R. Int’l Arb.

Awards 217, 251 ¶ 75 (1990) (emphasis added). A state’s “conduct contrary to the rights of oth-

ers”—including private parties—simply put, constitutes a “breach of an obligation” under interna-

tional law. State Responsibility, supra, at 35.

       Plaintiffs rely on an outlier (and divided) decision by the German Federal Constitutional

Court in the Argentine Necessity Case, Bundesverfassungsgerichts [BVerfG] May 8, 2007, 138

I.L.R. 1, Reply 18, without mentioning that the decision “led to a wave of criticism,” Ralph Janik,

International Responsibility, in International Law in Domestic Courts: A Casebook 387, 428 (An-

dre Nollkaempe et al., eds., 2019), as having been made “in complete ignorance of … long-stand-

ing practice.” Sabine Schlemmer-Schulte, Fragmentation of International Law: The Case of Inter-

national Finance & Investment Law Versus Human Rights Law, 25 Pac. McGeorge Global Bus. &

Dev. L.J. 409, 413 (2012). Scholars have long dismissed the majority as “unpersuasive,” agreeing

with the dissent that actual practice “clearly indicate[s] that necessity constitute[s] a general prin-

ciple of law irrespective of the legal nature of the creditor.” Beate Rudolf & Nina Hüfken, Joined

Case Nos. 2 Bvm 1-5/03 & 2 Bvm 1-2/06, 101 Am. J. Int’l L. 857, 859–60, 862–64 (2007). Indeed,

the dissent pointed to a decision by the Italian Supreme Court of Cassation that specifically recog-

nized “the obligation flowing from international law,” even in “the context of private-law dis-

putes,” to respect “the right of the State in question to avert this necessity.” ECF 47-1 at 20 (em-

phasis added) (citing Corte Supra di Cassazione, Ordinanza of 27 May 2005, RGN 6532/04).

Thus, “[c]onsidering that the state of necessity belongs to the general principles of law … being

rooted in national legal orders worldwide, there is no need to positively establish that the principle

has an effect on creditors other than sovereign States.” Jörn Axel Kämmerer, Argentine Debt

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Crisis, in Max Planck Encyclopedia of International Law (2017); see also ECF 47-1 at 17 (dissent

in German case, noting that the necessity doctrine has been “reasoned and formulated for many

years in cases in which no explicit reference was made to private-law systems, as an expression of

a fundamental, general legal conviction”).

       Scholars also argued that accepting the Argentine Necessity Case decision would create

perverse incentives, as “‘hold out’ creditors not participating in debt restructuring would be privi-

leged,” creating “an incentive for blocking negotiations.” Kämmerer, supra; see also id. (noting

that the court’s reasoning “would result in the state of necessity objection being devoid of any

effect in most sovereign defaults”). In short, the German Constitutional Court’s “formalist distinc-

tion” between sovereign debtors and private debtors “is artificial,” as “the substantive interests at

stake … are identical irrespective of the forum in which they are adjudicated.” Rudolf & Hüfken,

supra, at 864. This Court should therefore reject that one outlier opinion.

               3.      The Republic Is Unable To Access Resources Necessary To Perform
                       Or Settle Its Financial Obligations At This Time.

       Plaintiffs do not dispute that, under present circumstances, it is impossible for the Republic

to perform or settle its debts and obligations in the absence of an economic turnaround in Vene-

zuela. And they acknowledge that the Guaidó administration cannot itself access the limited finan-

cial resources located in Venezuela because of the Maduro regime’s continued domination of key

Venezuelan governmental, industrial, and financial institutions. Reply 4. Instead, Plaintiffs argue

that impossibility is “not a defense to breach of a private contract” under New York law. Reply

19–20. That is nonresponsive. The Republic is not asserting the defense of impossibility, it is re-

questing a stay in light of the current political and economic reality in Venezuela. That request is

amply justified for all of the reasons articulated above.




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III.   Alternatively, The Court Should Deny Plaintiffs’ Request For Prejudgment
       “Interest on Interest” And Establish Fraud-Prevention And Error-Prevention
       Mechanisms Concerning The Securities Underlying The Claims.

       A.      The Court Should Deny Plaintiffs’ Request For Pre-Judgment “Interest on
               Interest.”

       Plaintiffs do not dispute that but for the FSIA’s waiver of immunity, this suit could not be

brought in any court. See, e.g., Arch Trading Corp. v. Republic of Ecuador, 839 F.3d 193, 200 (2d

Cir. 2016). Plaintiffs nonetheless assert (Reply 21) that state law determines the rate of prejudg-

ment interest on interest, on the ground that when a foreign state “is not entitled to immunity”

under the FSIA, it “shall be liable in the same manner and to the same extent as a private individual

under like circumstances,” 28 U.S.C. § 1606.

       Although 28 U.S.C. § 1606 can “operate[] as a ‘pass-through’ to state law principles” on

certain liability determinations, see Pescatore v. Pan Am. World Airways, Inc., 97 F.3d 1, 12 (2d

Cir. 1996), it must give way to federal law where a uniform body of federal law should control.

See Bancec, 462 U.S. at 622 n.11; Barkanic v. Gen. Admin. of Civil Aviation of the People’s Re-

public of China, 923 F.2d 957, 960 n.2 (2d Cir. 1991) (explaining that “applying state substantive

law” is appropriate under the FSIA except where “a uniform body of federal law should control”).

This is because “matters bearing on the nation’s foreign relations ‘should not be left to divergent

and perhaps parochial state interpretations.’” Bancec, 462 U.S. at 622 n.11 (quoting Banco

Nacional de Cuba v. Sabbatino, 376 U.S. 398, 425 (1964)); see also, e.g., id. at 623, 630 (applying

“equitable principles” that “are common to both international law and federal common law” in

disregarding the separate juridical status of a foreign instrumentality); Sosa v. Alvarez-Machain,

542 U.S. 692, 730 (2004) (federal common law applies in disputes implicating the United States’

“relations with foreign nations”) (quotation source omitted); Matar v. Dichter, 563 F.3d 9, 14 (2d

Cir. 2009) (applying federal common law to determine immunity of former foreign officials).



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       Plaintiffs argue for a rule that the rate of prejudgment interest would vary depending on the

forum state, asserting that it would be error to allow a foreign sovereign to “alter the rule of deci-

sion for prejudgment interest merely by removing a case from state court to federal court.” Reply

23. This misapprehends the issue, which is not one of removal, but whether the FSIA demands

substantive uniformity in view of the “potential sensitivity of actions against foreign states and the

importance of developing a uniform body of law in this area.” Verlinden B.V. v. Cent. Bank of

Nigeria, 461 U.S. 480, 489 (1983) (quoting H.R. Rep. No. 94–1487, at 32). Here, the federal policy

is one of encouraging voluntary participation in orderly and equitable restructuring when restruc-

turing is necessary. Allowing some creditors to “game the system” by forum shopping for courts

with high interest rates and racing to obtain judgments would make it more difficult to persuade

all creditors to participate in an orderly and equitable restructuring in which like claims are treated

alike, on a voluntary basis. Cf. Clearfield Tr. Co. v. United States, 318 U.S. 363, 367 (1943) (re-

quiring a “uniform rule” for federal contracts because “application of state law, even without the

conflict of laws rules of the forum, would subject the rights and duties of the United States to

exceptional uncertainty” and “lead to great diversity in results by making identical transactions

subject to the vagaries of the laws of the several states”). In this regard, Plaintiffs’ cases providing

for statutory prejudgment interest under New York law (Reply 22 & n.4) are uninstructive, because

in those cases the parties assumed that state law applied, and the issue presented here was never

litigated or decided.

       There is case law suggesting that the court should apply New York choice-of-law rules

under the FSIA. See Barkanic, 923 F.2d at 960. But here, the federal policy favoring voluntary

restructuring of sovereign debts demands a uniform national rule rather than a variable rule de-

pending on the plaintiff’s choice of forum. And even under New York choice of law rules, New

York’s statutory rate of 9% would not apply, because the parties in this case did not choose New

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York law for enforcement of their contract. New York recognizes a difference between a choice-

of-law clause stating that a contract will be governed by New York law (as here), and a choice-of-

law clause stating that a contract will be governed by and enforced under New York law. See, e.g.,

Smith Barney, Harris Upham & Co. v. Luckie, 85 N.Y.2d 193, 202 (1995). It is black-letter law

that pre-judgment interest—like any other measure of a plaintiff’s compensation for breach of

contract—is a rule of enforcement. See, e.g., Restatement (Second) of Contracts 16 2 Intro. Note

(1981) (“This Topic contains rules for enforcement of contracts by means of the award of dam-

ages.” (emphasis added)); id. § 345 cmt. b (“Enforcement [of a contract] usually takes the form of

an award of a sum of money due under the contract or as damages.” (emphasis added)). And in

New York, a contract must unequivocally state that it is to be enforced under New York law for

state rules of enforcement to apply. See, e.g., N.J.R. Assocs. v. Tausend, 19 N.Y.3d 597, 602 (2012)

(applying a contract as written where it fails to include the “critical ‘enforcement’ language”);

Diamond Waterproofing Sys., Inc. v. 55 Liberty Owners Corp., 4 N.Y.3d 247, 253 (2005) (noting

“the absence of … critical language concerning enforcement” in a contractual choice-of-law

clause). None of the Plaintiffs’ bonds includes this enforcement language.7 The bonds “fail[] to

unequivocally invoke the New York standard,” N.J.R. Assocs., 19 N.Y.3d at 602, and New York’s

enforcement rule concerning prejudgment interest simply does not apply. Rather, the federal stand-

ard applies. And, for the reasons set out in the Republic’s opposition, in exercising its discretion

under the federal standard, the Court should either deny prejudgment interest altogether or, at most,

adopt a rate closer to the federal prejudgment interest rate. Rep. Br. 26–27.




7
  See ECF 42-2 at 30 (“This agreement shall be governed by, and interpreted in accordance with,
the laws of the State of New York….”); id. at 43 (similar); ECF 42-5 at 14 (similar); ECF 42-7 at
4 (similar); id. at 14 (similar); ECF 42-9 at 4 (similar).


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       B.      The Court Should Establish Fraud-Prevention And Error-Prevention
               Mechanisms Concerning The Securities Underlying The Claims Before
               Awarding Judgment

       The parties agree that some form of mechanism must be established to prevent future errors

or fraud in the transfer of securities with respect to which any judgment may be entered. Plaintiffs

agree that the securities at issue are “global” bonds and notes, issued in a single “immobilized”

certificate and held by a securities depositary. Plaintiffs agree that no plaintiff should be allowed

to “double dip” by obtaining a judgment and then selling securities to an unsuspecting third party

without disclosing the judgment to the buyer or the sale to the Defendant. And Plaintiffs are silent

in response to the point that honest error could result in a double payment following a transfer of

the securities out of plaintiffs’ accounts. See Rep. Br. 28.

       Plaintiffs object that they have cooperated in discovery and that they are not bad actors.

Reply 26-27. But this will not be the last case concerning global bonds and notes in this Court. The

Republic must therefore establish a precedent for protecting its assets from potential fraud or in-

advertence—in these and future cases. Reply 27. Plaintiffs acknowledge that an order forbidding

them to transfer the bonds without notice would be appropriate. But given the billions of dollars at

stake, and the history of corruption under prior regimes, the Court should implement more robust

protection than the “honors system” Plaintiffs propose.

       The Court should schedule briefing on the appropriate mechanism, to allow the Court to

hear from the parties, the Fiscal Agents, and the relevant intermediaries through which plaintiffs

hold their securities. This process need not be lengthy. But to skip it in favor of an artificial rush

to enter judgment would be an error that could lead to grave losses to Venezuela’s public fisc.

                                          CONCLUSION

       For the foregoing reasons, and those set forth the Republic’s prior submissions, the Court

should not enter summary judgment, but should instead stay this case.


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Dated: February 27, 2020
       New York, New York
                                    Respectfully submitted,

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